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                                  UNITED STATES DISTRICT COURT
 1
                                          DISTRICT OF NEVADA
 2
                                                     ***
 3
      JASMINE A. EASLEY, individually,                      Case No. 2:19-cv-02214-APG-BNW
 4
                             Plaintiff,
 5                                                             ORDER REGARDING IN-PERSON
            v.                                                 EARLY NEUTRAL EVALUATION
 6
      AMERIPRISE FINANCIAL SERVICES,
 7    INC. n/k/a AMERIPRISE FINANCIAL
      SERVICES, LLC, a Delaware Corporation,
 8
                             Defendants.
 9
10          IT IS HEREBY ORDERED that an in-person Early Neutral Evaluation Session (“ENE”) will

11   be conducted in the fourth floor conference room and jury room of the Lloyd D. George United States

12   Courthouse, 333 Las Vegas Boulevard South, Las Vegas, Nevada on Monday, June 8, 2020. Plaintiff

13   must report to the chambers of the undersigned United States Magistrate Judge, Room 4068, at 9:00

14   a.m. Defendant must report to the chambers of the undersigned at 9:30 a.m.

15          The Court is closely following and reinforcing the guidelines from the CDC and other relevant

16   health authorities and is taking precautionary measures to limit the potential spread of the COVID-19

17   virus. For example:

18          •    ALL VISITORS TO THE COURTHOUSE WILL BE REQUIRED TO
                 MAINTAIN A SOCIAL DISTANCE OF AT LEAST SIX FEET AND
19               EITHER WASH THEIR HANDS OR USE HAND SANITIZER BEFORE
                 ENTERING A COURTROOM.
20
            •    IF A PROCEEDING IS INSIDE THE COURTROOMS, CHAIRS,
21               TABLES, AND MICROPHONES THAT HAVE BEEN UTILIZED WILL
                 BE CLEANED AFTER EACH PROCEEDING. COUNSEL MAY
22               BRING DISINFECTANT WIPES TO CLEAN THE SURFACE AREAS
                 UTILIZED TO THEIR OWN COMFORT LEVEL AS WELL.
23
            •    ENE ATTENDEES MAY BRING AND WEAR PERSONAL
24               PROTECTIVE EQUIPMENT INCLUDING FACE MASKS AND
                 GLOVES OR OTHER PROTECTIVE COVERINGS AS DESIRED.
25
            •    DOCUMENTS THAT WILL BE REFERENCED OR UTILIZED
26               DURING THE ENE SESSION MUST BE EMAILED TO
                 Emily_Santiago@nvd.uscourts.gov by JUNE 1, 2020.
27

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 1         IF YOU DO NOT FEEL WELL, CONTACT EMILY SANTIAGO AT THE EMAIL

 2   ADDRESS    ABOVE    SO      THAT   THIS   ENE    MAY   BE   RESCHEDULED   OR

 3   ARRANGEMENTS TO ATTEND IT REMOTELY MAY BE MADE. DO NOT COME TO

 4   THE COURTHOUSE IF YOU ARE EXPERIENCING FLU-LIKE SYMPTOMS SUCH AS

 5   A COUGH, FEVER, OR SHORTNESS OF BREATH, OR IF YOU HAVE BEEN IN

 6   CONTACT WITH ANYONE WHO HAS BEEN RECENTLY DIAGNOSED WITH A

 7   COVID-19 INFECTION. REFER TO TEMPORARY GENERAL ORDER 2020-02 FOR

 8   ADDITIONAL COURTHOUSE-ACCESS POLICIES AND PROCEDURES.

 9         DATED: May 15, 2020

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11                                       ELAYNA J. YOUCHAH
                                         UNITED STATES MAGISTRATE JUDGE
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